                                       Case 1:16-cv-00209-CRC Document 22 Filed 01/04/17 Page 1 of 2



                                                                                                                             UNITED	  STATES	  DISTRICT	  COURT	  
                                                                                                                             FOR	  THE	  DISTRICT	  OF	  COLUMBIA	  
                                    	  
                                    ANDRE	  RICHARDSON	                                                                                                                                                                	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  
                                    	                                            	                     	        	                                      	                             	  	                         	  	  
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                                    Vs.	  	  	   	                                                   	        	                                      	                             	  	                         Civil	  Action	  16	  cv	  209	  (CRC)	  
	  
                                                               THE	  UNITED	  STATES	  OF	  AMERICA	  
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                                                                                                                                                    PLAINTIFFS’	  RESPONSE	  TO	  DEFENDANTS’	  
                                                                                                                                                    MOTION	  TO	  AMEND	  SCHEDULING	  ORDER	  
	  
	  	  	  	  	  Comes	  now	  the	  Plaintiff	  Andrea	  Richardson,	  through	  undersigned	  counsel,	  and	  files	  the	  

following	  response	  to	  the	  Defendants	  Motion	  to	  Amend	  Scheduling	  Order:	  

	  	  	  	  	  Plaintiff	  Andrea	  Richardson	  does	  not	  object	  to	  Defendants’	  request	  to	  amend	  the	  

scheduling	  order	  to	  extend	  the	  time	  for	  defense	  expert	  disclosures	  to	  February	  28,	  2017	  

and	  to	  extend	  the	  discovery	  deadline	  to	  April	  30,	  2017.	  Plaintiff	  Richardson	  would,	  

however,	  note	  that	  Defendants	  have	  inaccurately	  stated	  in	  their	  motion	  that	  Plaintiff	  had	  

not	  yet	  provided	  written	  responses	  to	  their	  discovery.	  (Def.	  Motion,	  Pg.	  3)	  In	  fact,	  Plaintiff	  

provided	  written	  responses	  to	  Defendants	  Interrogatories	  and	  Request	  for	  Productions	  of	  

Documents	  on	  December	  14,	  2016	  via	  both	  email	  and	  first	  class	  mail,	  postage	  prepaid.	  

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	                                                                                                                                                                                                    1	  
                     Case 1:16-cv-00209-CRC Document 22 Filed 01/04/17 Page 2 of 2



       	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  

                                                                                                                                                              CERTIFICATE	  OF	  SERVICE	  

       	  	  	  	  	  I	  HEREBY	  CERTIFY	  that	  on	  this	  4th	  of	  January,	  	  2017,	  a	  copy	  of	  the	  foregoing	  was	  

       served	  via	  ECF	  upon	  Martha	  J.	  Mullen	  and	  Tram	  T.	  Pham,	  Office	  of	  the	  Attorney	  

       General,	  441	  Fourth	  Street,	  N.W.,	  Suite	  630	  South,	  Washington,	  DC	  20001.	  

       	  

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	                                                                                                                                                                                                      2	  
